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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

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                                                      x
                                                      :
In re:                                                :       Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :       Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :       (Jointly Administered)
                                                      :
-----------------------------------------------------------
                                                      x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :       Adv. Proceeding No. 24-05006
                                 Plaintiff,           :
v.                                                    :
                                                      :
                                                      :
AMAZON WEB SERVICES, INC.,                            :
                                                      :
                                 Defendant.           :
                                                      :
-----------------------------------------------------------
                                                      x


                           NOTICE OF FILING AMENDED COMPLAINT

         PLEASE TAKE NOTICE that Luc A. Despins, in his capacity as the chapter 11 trustee

appointed in the Ho Wan Kwok’s chapter 11 case, hereby files his redacted Amended Complaint

(the “Amended Complaint”), pursuant to Rule 15(a) of the Federal Rules of Civil Procedure, and

Rule 7015 of the Federal Rules of Bankruptcy Procedure, attached hereto as Exhibit 1. Pursuant

to the Court’s Order Approving Procedures Applicable to Avoidance Claim Adversary



1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
     of notices and communications).
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Proceedings [Main Case ECF No. 2578], an unredacted copy of the Amended Complaint has been

filed under seal.


Dated: February 15, 2024               LUC A. DESPINS
       New Haven, CT                   CHAPTER 11 TRUSTEE


                                       By: /s/ Patrick R. Linsey_____
                                          Douglas S. Skalka (ct00616)
                                          Patrick R. Linsey (ct29437)
                                          NEUBERT, PEPE & MONTEITH, P.C.
                                          195 Church Street, 13th Floor
                                          New Haven, Connecticut 06510
                                          (203) 781-2847
                                          dskalka@npmlaw.com
                                          plinsey@npmlaw.com
                                          Counsel for the Chapter 11 Trustee




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                                  EXHIBIT 1

                        Amended Complaint (Redacted)
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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

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In re:                                                :       Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :       Case No. 22-50073 (JAM)
                                                      :
                                 Debtors.             :       (Jointly Administered)
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                                                      x
                                                      :
LUC A. DESPINS, CHAPTER 11                            :
TRUSTEE,                                              :
                                                      :       Adv. Proceeding No. 24-05006
                                 Plaintiff,           :
v.                                                    :
                                                      :
                                                      :
AMAZON WEB SERVICES, INC.                             :
                                                      :
                                 Defendant.           :
                                                      :
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                                                      x


      AMENDED COMPLAINT OF CHAPTER 11 TRUSTEE SEEKING AVOIDANCE AND
     RECOVERY OF FRAUDULENT TRANSFERS AND POSTPETITION TRANSFERS AND
    RELATED RELIEF PURSUANT TO BANKRUPTCY CODE SECTIONS 544, 548, 549, AND
       550 AND NEW YORK DEBTOR & CREDITOR LAW SECTIONS 273, 274, AND 276

         Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor” or “Kwok”), files this




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
     LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
     for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
     Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
     of notices and communications).

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adversary complaint (the “Complaint”) against defendant Amazon Web Services, Inc. (the

“Defendant”), stating as follows:

                                     NATURE OF ACTION

       1.      The Trustee commences this adversary proceeding to avoid and recover: (a)

transfers of the Debtor’s property prior to the commencement of this Chapter 11 Case; and (b)

transfers of property of the Debtor’s chapter 11 estate after the commencement of this Chapter 11

Case and not authorized by the Bankruptcy Court or under Title 11 of the United States Code (the

“Bankruptcy Code”).

       2.      The Debtor, through his alter ego shell companies, Lexington Property and

Staffing, Inc. (“Lexington”), HCHK Technologies, Inc. (“HCHK Technologies”), Leading Shine

NY Ltd. (“Leading Shine”), G Fashion Media Group, Inc. (“G Fashion”), Saraca Media Group

Inc. (“Saraca”), and Hamilton Capital Holding Ltd (“Hamilton Capital”) transferred funds in the

amount of $11,276,402.90 prior to the Petition Date (as defined herein) to the Defendant as initial

transferee.

       3.      These transfers were actually fraudulent, because the Debtor effectuated them as

part of his “shell game,” and they were made with the intent to hinder, delay, and/or defraud the

Debtor’s creditors.

       4.       Following the Petition Date, the Debtor, through his alter ego shell companies,

Lexington, HCHK Technologies, and Hamilton Capital, transferred funds in the aggregate amount

of $5,681,954.75 to the Defendant as initial transferee.




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          5.      Because these postpetition transfers of estate property were not authorized by the

Court or under the Bankruptcy Code, they are subject to avoidance and recovery under sections

549 and 550 of the Bankruptcy Code.

                                       JURISDICTION AND VENUE

          6.      This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. § 1334(b).

          7.      This adversary proceeding has been referred to this Court pursuant to 28 U.S.C. §

157(a).

          8.      The statutory predicates for the relief sought herein include sections 544, 547, 548,

549, and 550 of the Bankruptcy Code and New York Debtor & Creditor Law sections 273, 274,

and 276 2 or any other applicable state law equivalents.

                                                 THE PARTIES

          9.      The Trustee is the chapter 11 trustee in the Chapter 11 Case pursuant to the

Bankruptcy Court’s order entered on July 8, 2022 [Case No. 22-50073 (the “Main Case”) Docket

No. 523].

          10.     The Defendant is a Delaware corporation with an address 410 Terry Avenue North,

Seattle, Washington 98109.




2
     All statutory references to New York Debtor and Creditor Law will hereinafter be referred to as “N.Y. Debt. &
     Cred. Law”. The New York Uniform Voidable Transactions Act (“NYUVT”) replaced the New York Uniform
     Fraudulent Conveyance Act (“NYUFC”) and became effective on April 4, 2020 and applies to transfers made or
     obligations incurred on or after April 4, 2020. With respect to transfers prior to April 4, 2020, the Trustee seeks
     relief in this action under the NYUFC and N.Y. Debt. & Cred. Law sections 273, 273a, 275, 276 and 278.

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                                                     FACTS

A.       Chapter 11 Case

         11.      The Debtor filed a voluntary petition for relief under Chapter 11 of the Bankruptcy

Code on February 15, 2022 (the “Petition Date”) in the United States Bankruptcy Court for the

District of Connecticut (the “Bankruptcy Court”), thus commencing the Chapter 11 Case.

         12.      On March 21, 2022, the Office of the United States Trustee appointed an Official

Committee of Unsecured Creditors in this Chapter 11 Case. No examiner has been appointed.

         13.      The Debtor’s bankruptcy schedules, filed in March 2022 with the Bankruptcy

Court, claimed that he owned $3,850 in assets and had incurred hundreds of millions of dollars of

liabilities.3 While the Debtor was, indeed, deeply indebted, his schedules failed to disclose the

Debtor’s property as held and/or transferred through his many alter ego shell companies,

Lexington, HCHK Technologies, Leading Shine, G Fashion, Saraca, and Hamilton Capital.

         14.      On June 15, 2022, the Court entered a memorandum of decision and order [Main

Case Docket No. 465] directing the United States Trustee to appoint a chapter 11 trustee in the

Chapter 11 Case. Pursuant to this order, the United States Trustee selected Luc A. Despins as the

Trustee. On July 8, 2022, the Court entered an order granting the appointment of Luc A. Despins

as the Trustee in the Chapter 11 Case [Main Case Docket No. 523].

B.       Debtor’s Use of Shell Companies and Trustee’s Adversary Proceedings

         15.      Lexington, HCHK Technologies, Leading Shine, and G Fashion, Saraca, and

Hamilton Capital, are among the numerous alter ego shell companies used by the Debtor to hinder,




3
     Schedule of Assets and Liabilities, at 1 [Main Case Docket No. 78].


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delay, and/or defraud his creditors.4 For years, the Debtor has orchestrated a “shell game,”

employing a convoluted web of shell companies, nominally owned by family members,

lieutenants, and/or subordinates, but in reality, controlled by the Debtor. This shell game enabled

the Debtor to use and spend and/or transfer millions of dollars of cash and other assets—while

concealing his property from creditors.

           16.    Since his appointment, the Trustee has commenced a number of adversary

proceedings in the Chapter 11 Case to, among other things, establish that the Debtor’s shell

companies were his alter egos and/or that such companies and their assets were equitably owned

by the Debtor and in several adversary proceedings the Bankruptcy Court has already granted such

relief.5

           17.    The fact patterns in these litigations consistently involve: (i) Debtor-controlled shell

companies held by close family members and/or subordinates, (ii) assets purchased with cash from


4
     A default has entered against Lexington, HCHK Technologies, and HCHK Property, in the adversary proceeding
     Despins v. HCHK Technologies, Inc., et. al (Adv. Proc. No. 23-5013 (the “HCHK Entities A.P.”), Docket No.
     139), which adversary proceeding seeks, among other things, a declaratory judgment that Lexington, HKHK
     Technologies, and HCHK Property are the alter egos of the Debtor. The Trustee incorporates by reference herein,
     the Trustee’s Complaint filed in the HCHK Entities A.P. (Adv. Proc. No. 23-5013, Docket No. 1).

     Default has entered against Leading Shine in the adversary proceeding Despins v. Lamp Capital LLC, et al. (Adv.
     Proc. No. 23-5023 (the “Lamp Capital A.P.”), Docket No. 13), which adversary proceeding seeks, among other
     things, a declaratory judgment that Leading Shine was the alter ego of the Debtor. The Trustee incorporates by
     reference herein, the Trustee’s Complaint filed in the Lamp Capital A.P. (Adv. Proc. No. 23-5023, Docket No.
     1).

     The Trustee has or will imminently commence an adversary proceeding against G Fashion, Saraca, and Hamilton
     Capital, which adversary proceeding seeks, among other things, a declaratory judgment that these entities were
     the alter egos of the Debtor. The Trustee incorporates by reference herein, the Trustee’s Complaint filed in such
     adversary proceeding.
5
     These include the following adversary proceedings: (i) Luc A. Despins, Chapter 11 Trustee v. HK International
     Funds Investments (USA) Limited, LLC, et al. [Adv. Proc. No. 22-05003]; (ii) Luc A. Despins, Chapter 11
     Trustee v. Greenwich Land LLC, et al. [Adv. Proc. No. 23-05005]; (iii) Luc A. Despins, Chapter 11 Trustee v.
     Mei Guo [Adv. Proc. No. 23-05008]; (iv) Luc A. Despins, Chapter 11 Trustee v. HCHK Technologies, Inc., et
     al. [Adv. Proc. No. 23-05013]; (v) Luc A. Despins, Chapter 11 Trustee v. Taurus Fund LLC, et al. [Adv. Proc.
     No. 23-05017]; (vi) Luc A. Despins, Chapter 11 Trustee v. Golden Spring (New York) Limited [Adv. Proc. 23-
     05018]; and (vii) Luc A. Despins, Chapter 11 Trustee v. Lamp Capital LLC, et al. [Adv. Proc. 23-05023].


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other Debtor-controlled entities and/or transferred to and among shell entities for no consideration,

and (iii) the Debtor benefiting from and having control and dominion over such assets.

C.       Debtor’s Conduct to Hinder, Delay, and/or Defraud Creditors

         18.     In addition to the matters addressed in the Trustee’s adversary proceedings, the

Bankruptcy Court has found that the Debtor was the beneficial owner of Ace Decade Limited (and

through it, Dawn State Limited) and that the Debtor controlled and employed Ace Decade

Limited’s nominee shareholder, Yvette Wang.6

         19.     The Bankruptcy Court has also found that the “G Entities” (Gettr, G Fashion, G

Music, GClubs, GNews and GEdu), the New Federal State of China and the Rule of Law

Foundation, as well as other purportedly independent entities and organizations, were controlled

by the Debtor7, led by the Debtor8 and/or served “the purposes of… and as business vehicles of”

the Debtor.9

         20.     Prior to the Petition Date, Judge Liman of the United States District Court for the

Southern District of New York found that Eastern Profit Corporation Limited, an entity originally

owned by one of the Debtor’s chefs before its transfer to Debtor’s daughter, was “in essence, a

shell corporation” for the Debtor.10




6
     Order Granting Motion to Hold Debtor in Contempt of Corporate Governance Order, ¶¶ 1, 4 (Jan. 24, 2023,
     Docket No. 1372 (“Corp. Governance Contempt Order”).
7
     Corrected Memorandum of Decision Granting in Part Motion for Preliminary Injunction, ¶ 3 (Adv. Proc. No.
     22-05032, January 13, 2023 (“The Debtor also controls Saraca Media Group and a related entity ‘GTV’”).
8
     Id. at ¶ 7 (“The Debtor is the leader of The Whistleblower Movement, NFSC, ROLF and Himalaya.”).
9
     Id. (“The Whistleblower Movement, NFSC, ROLF, GSeries, and Himalaya serve the purposes of the Debtor,
     serve as business vehicles for the Debtor, and their members are personally loyal to the Debtor.”).
10
     Eastern Profit Corp. Ltd. v. Strategic Vision US LLC, No. 18-CV-2185 (LJL) 2021 WL 2554631, at *1 (S.D.N.Y.
     June 22, 2021).

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         21.     The Debtor has gone to great lengths to hinder and delay the collection efforts of

one of his largest creditors, i.e., Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”). In 2017,

PAX sued the Debtor in the Supreme Court of the State of New York (the “New York Court”),

Index No. 652077/2017 (the “PAX Case”), seeking judgment for monies owed. On February 3,

2021, PAX obtained a judgment from the New York Court against the Debtor in the sum of

$116,402,019.57 (the “PAX Judgment”). PAX sought to enforce the PAX Judgment by levying

the Debtor’s assets—including the Lady May, which the Debtor falsely claimed was owned by his

daughter, and the Debtor’s luxury apartment in Manhattan, which the Debtor falsely claimed was

held in trust for the Debtor’s son. The Debtor’s defiance of New York Court orders in post-

judgment proceedings eventually resulted in the Debtor incurring contempt penalties of $134

million.

         22.     The Debtor also used his alter egos, including Lexington, HCHK Technologies,

Leading Shine, G Fashion, Saraca, and Hamilton Capital, as personal piggy-banks, funding the

lavish lifestyle to which he and his family had become accustomed, while concealing assets in

these alter egos from his creditors and hindering and delaying creditors from recoveries on their

claims. The transfers that the Debtor effectuated through these alter egos effectuated the Debtor’s

fraudulent scheme.

         23.     The Debtor has testified before the Bankruptcy Court that he has insufficient assets

to pay his liabilities and that his luxurious lifestyle is funded by his family through businesses

nominally held by family members.11 The Debtor scheduled only $3,850 in assets.12



11
     Hearing on Debtor’s Motion for Entry of Interim and Final DIP Orders (I) Authorizing the Debtor to Obtain
     Unsecured, Subordinated Postpetition Financing and (II) Scheduling Interim and Final Hearings, and (III)
     Granting Related Relief (Main Case, April 27, 2022)
12
     See n.3


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         24.      In March 2023, the Debtor was arrested and remains confined pending his trial on

federal criminal charges of, among other things, wire fraud, securities fraud, and money

laundering.

         25.      In its criminal indictment of the Debtor, the United States Government asserts that

the Debtor and his co-defendants “utilized more than approximately 500 accounts held in the

names of at least 80 different entities or individuals to launder more than $1 billion in fraud

proceeds.”13

         26.      The property of the Debtor’s alter egos, Lexington, HCHK Technologies, Leading

Shine, G Fashion, Saraca, and Hamilton Capital, was at all times prior to the Petition Date property

of the Debtor.

         27.      At all times relevant herein, the Debtor conducted business in New York, New

York, including direction of the prepetition transfers at issue in this Complaint.

D.       Debtor’s Shell Game and Fraud Continues Postpetition

         28.      As of the Petition Date, all of the Debtor’s property held through his alter egos,

including Lexington, HCHK Technologies, Leading Shine, G Fashion, Saraca, and Hamilton

Capital, became property of the chapter 11 estate. See 11 U.S.C. § 541(a)(1).

         29.      Following the Petition Date, the Debtor, with blatant disregard for the Bankruptcy

Court and his obligations under the Bankruptcy Code, continued to effectuate transfers through

numerous alter ego shell companies, including, without limitation, Lexington and HCHK

Technologies.




13
     See Memorandum of Law of the United States of America in Opposition to Defendant Yanping Wang’s Motion
     for Pretrial Release at 29, attached as Exhibit B in the Reply of Chapter 11 Trustee to G Club Operations LLC’s
     Supplemental Objection to Trustee’s Motion to Compel and Request for Related Relief (June 23, 2023, Main
     Case Docket No. 1934).


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       30.     None of these postpetition transfers were authorized by the Bankruptcy Court nor

were such transfers authorized under the Bankruptcy Code.

E.     Transfers Made with Intent to Hinder, Delay, or Defraud Creditors

       31.     The Transfers at issue in this Complaint were made with the intent to hinder, delay,

and/or defraud the Debtor’s creditors inasmuch as they were all made through the Debtor’s alter-

ego shell companies operated as a part of the Debtor’s shell game.

       32.     The Debtor intentionally orchestrated his financial affairs in this manner in order

to conceal and dissipate millions of dollars in assets while falsely pleading poverty to his many

creditors. The Debtor claimed to be destitute while simultaneously spending heavily to maintain

a billionaire lifestyle for himself and for his family members and close associates.

       33.     The assets concealed and dissipated by the Debtor included funds that he obtained

from the victims of his cryptocurrency, securities, and other fraud schemes. As a result of this

conduct, the Debtor faces multiple felony fraud, money laundering, and racketeering charges in a

criminal case pending in the U.S. District Court for the Southern District of New York. See United

States v. Ho Wan Kwok, case no. 1:23-cr-00118-AT [ECF No. 215] (Jan. 3, 2024 S.D.N.Y.).

       34.     The Debtor knew and intended that by concealing and dissipating his assets in this

manner there would not be sufficient assets remaining to repay his creditors—including the many

victims of his frauds. These transfers were thus necessarily made with the intent to hinder, delay,

and/or defraud the Debtor’s creditors.

F.     Transfers to the Defendant

       35.     Prior to the Petition Date, the Debtor, using his alter-ego shell companies

Lexington, HCHK Technologies, Leading Shine, G Fashion, Saraca, and Hamilton Capital, or




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otherwise, transferred the Debtor’s property to the Defendant (collectively, the “Prepetition

Transfers”), including, without limitation, as follows:

                See SCHEDULE A attached hereto and made a part hereof.

        36.     Subsequent to the Petition Date, the Debtor, through his shell companies Lexington,

HCHK Technologies, Leading Shine, G Fashion, and Hamilton Capital, or otherwise, transferred

property of the estate to the Defendant (collectively, the “Postpetition Transfers”), including,

without limitation, as follows:

        See SCHEDULE B attached hereto and made a part hereof.

        37.     At the time of the Prepetition Transfers and the Postpetition Transfers (collectively,

the “Transfers”), the Debtor had outstanding obligations to creditors of the Debtor’s estate.

        38.     The Defendant was the initial transferee of the Transfers.

                                             FIRST CLAIM

               (Claim to Avoid and Recover Actual Fraudulent Transfers Pursuant to
                         Bankruptcy Code sections 548(a)(1)(A) and 550(a))

        39.     The Trustee repeats and realleges the allegations contained in paragraphs 1-38 as if

fully set forth herein.

        40.     The Prepetition Transfers were made by the Debtor through his alter egos,

Lexington, HCHK Technologies, Leading Shine, G Fashion, Saraca, and Hamilton Capital, with

the actual intent to hinder, delay and/or defraud his creditors.

        41.     The Debtor’s intent to hinder, delay, and/or defraud his creditors in effectuating the

Prepetition Transfers is shown by, among other things:

                a.        The Prepetition Transfers were effectuated using an alter ego shell

        company;

                b.        The Prepetition Transfers were concealed from the Debtor’s creditors;

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                c.        The Prepetition Transfers were effectuated as part of the Debtor’s “shell

        game” with the aid of the Debtor’s family members and other lieutenants and subordinates

        that he controlled in an effort to conceal and shield assets;

                d.        The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

        enabling the Debtor to benefit from his fraud without subjecting his property to the reach

        of his creditors;

                e.        The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

        enabling the Debtor to profit from his fraud without subjecting his property to the reach of

        his creditors;

                f.        At the time of the Prepetition Transfers, the Debtor was being sued,

        including by PAX in the PAX Case; and

                g.        At the time of the Prepetition Transfers, the Debtor was insolvent or

        undercapitalized.

        42.     The Prepetition Transfers are avoidable by the Trustee pursuant to section

548(a)(i)(A) of the Bankruptcy Code and are recoverable pursuant to section 550(a) of the

Bankruptcy Code.



                                         SECOND CLAIM

(Claim to Avoid and Recover Actual Fraudulent Transfers pursuant to N.Y. Debt. & Cred.
     Law sections 273, 274, and 276, and Bankruptcy Code sections 544(b) and 550(a))

        43.     The Trustee repeats and realleges the allegations contained in paragraphs 1-38 as if

fully set forth herein.




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       44.     The Prepetition Transfers were made by the Debtor, through his alter egos,

Lexington, HCHK Technologies, Leading Shine, G Fashion, Saraca, and Hamilton Capital, with

the actual intent to hinder, delay and/or defraud his creditors.

       45.     The Debtor’s intent to hinder, delay, and/or defraud his creditors in effectuating the

Prepetition Transfers is shown by, among other things:

               a.       The Prepetition Transfers were effectuated using an alter ego shell

       company;

               b.       The Prepetition Transfers were concealed from the Debtor’s creditors;

               c.       The Prepetition Transfers were effectuated as part of the Debtor’s “shell

       game” with the aid of the Debtor’s family members and other lieutenants and subordinates

       that he controlled in an effort to conceal and shield assets;

               d.       The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

       enabling the Debtor to benefit from his fraud without subjecting his property to the reach

       of his creditors;

               e.       The Prepetition Transfers furthered the Debtor’s fraudulent conduct by

       enabling the Debtor to profit from his fraud without subjecting his property to the reach of

       his creditors;

               f.       At the time of the Prepetition Transfers, the Debtor was being sued,

       including by PAX in the PAX Case; and

               g.       At the time of the Prepetition Transfers, the Debtor was insolvent or

       undercapitalized.




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        46.     The Prepetition Transfers are avoidable by the Trustee pursuant to N.Y. Debt. &

Cred. Law sections 273(a)(1), 274, and 276, and section 544(b) of the Bankruptcy Code and

recoverable pursuant to section 550(a) of the Bankruptcy Code.

                                             THIRD CLAIM

       (Claim to Avoid and Recover Unauthorized Postpetition Transfers pursuant to
                        Bankruptcy Code sections 549 and 550(a))

        47.     The Trustee repeats and realleges the allegations contained in paragraphs 1-38 as

if fully set forth herein.

        48.     The Postpetition Transfers were made to the Defendant by the Debtor, including

through his alter ego shell companies, Lexington and HCHK Technologies.

        49.     The Postpetition Transfers occurred after the Petition Date.

        50.     The Postpetition Transfers were not authorized by the Bankruptcy Court or by the

Bankruptcy Code.

        51.     The Postpetition Transfers constituted the unauthorized transfer of property of the

Debtor’s chapter 11 estate.

        52.     The Postpetition Transfers are avoidable pursuant to section 549(a) of the

Bankruptcy Code.

        53.     Pursuant to section 550(a) of the Bankruptcy Code, the Trustee is entitled to recover

the Postpetition Transfers, or the value thereof, from the Defendant plus interest thereon to the

date of payment and the costs of this action.

               [THE REMAINDER OF THIS PAGE IS INTENTIONALLY BLANK.]




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                                        PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, the Trustee respectfully requests that judgment

be entered as follows:

       1.      On the First Claim, (a) an order declaring that the Prepetition Transfers in an

amount not less than $11,276,402.90 are avoided pursuant to section 548(a)(1)(A) of the

Bankruptcy Code; (b) an order directing that the Prepetition Transfers be set aside; and (c) recovery

of the Prepetition Transfers, or the value thereof at the Trustee’s option, from the Defendant for

the benefit of the Debtor’s estate pursuant to section 550(a)(1) of the Bankruptcy Code;

       2.      On the Second Claim, (a) an order declaring that the Prepetition Transfers in an

amount not less than $11,276,402.90 are avoided pursuant to section 544(b) of the Bankruptcy

Code and N.Y. Debt. & Cred. Law sections 273(a)(2), 274 and 276; (b) an order directing that the

Prepetition Transfers be set aside; and (c) recovery of the Prepetition Transfers, or the value thereof

at the Trustee’s option, from the Defendant for the benefit of the Debtor’s estate pursuant to N.Y.

Debt & Cred. Law section 276 and section 550(a)(1) of the Bankruptcy Code;

       3.      On the Third Claim, an order (a) declaring that the Postpetition Transfers in an

amount not less than $5,681,954.75 are avoided pursuant to section 549 of the Bankruptcy Code;

and (b) an order directing that the Postpetition Transfers be set aside; and (c) recovery of the

Postpetition Transfers, or the value thereof at the Trustee’s option, from the Defendant for the

benefit of the Debtor’s estate pursuant to section 550(a)(1) of the Bankruptcy Code;

       4.      Awarding the Trustee pre-judgment interest at the maximum legal rate from the

date of the filing of this Complaint to the date of judgment herein; and

       5.      Such other and further relief as the Court may deem just, proper, or equitable under

the circumstances.



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Dated: February 15, 2024              LUC A. DESPINS
       New Haven, CT                  CHAPTER 11 TRUSTEE



                                      By: /s/ Patrick R. Linsey_____
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                                         Patrick R. Linsey (ct29437)
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                                 SCHEDULE A

                              FILED UNDER SEAL




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                                 SCHEDULE B

                              FILED UNDER SEAL




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